                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                Consolidated Civil Action

RALEIGH WAKE CITIZENS ASSOCIATION,                 )
et al.                                             )
                                                   )
                       Plaintiffs,                 )
                                                   )              No. 5:15-cv-156
               v.                                  )
                                                   )
WAKE COUNTY BOARD OF ELECTIONS,                    )
                                                   )
                       Defendant.                  )


CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                       No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)


                     JOINT MOTION TO ENTER CONSENT DECREE

       Defendant Wake County Board of Elections (“WBOE”) and Plaintiffs respectively move

the Court to enter the [Proposed] Consent Decree attached as Exhibit A for the reasons stated in

its accompanying joint memorandum, including the following:

       1.      On August 9, 2016, the Court entered an Order imposing an interim judicial plan

for elections for the Wake County Board of Education and the Wake County Board of

Commissioners that was limited to the 2016 elections (“2016 Interim Plan”). The Court’s Order

also expressed the expectation that the General Assembly would enact new districting plans when

it returned to session in January 2017.




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        2.      The General Assembly adjourned its business for 2017 without enacting new

districting plans.

        3.      In light of the General Assembly’s inaction, the parties agree through the

[Proposed] Consent Decree that the extension of the Court’s 2016 Interim Plan is sufficiently

equitable to (a) assure timely and orderly elections for 2018, (b) reduce the risk of additional

litigation and appeals regarding interim districts that would inject further uncertainty into the

schedule for elections in 2018, (c) minimize judicial involvement, and (d) reserve room for the

General Assembly to enact new districting plans at any time. Further, in connection with the

submission of this [Proposed] Consent Decree, Plaintiffs have agreed to waive any present or

future claims for attorneys’ fees related to this matter.

        4.      The [Proposed] Consent Decree would extend the Court’s 2016 Interim Plan until

the General Assembly enacts new districts or the return of the 2020 decennial census.

        5.      Nothing in the [Proposed] Consent Decree constrains the General Assembly from

duly enacting redistricting plans or other legislation affecting elections for the Board of

Commissioners or Board of Education in 2018 or any future year.

        6.      The WBOE consulted with officials within the offices of the North Carolina State

Board of Elections to confirm the WBOE’s authority to enter into the [Proposed] Consent Decree

to effectively extend the 2016 Interim Plan, subject to approval and entry of the [Proposed]

Consent Decree by the Court.

        WHEREFORE, the parties respectfully move this Court to enter the [Proposed] Consent

Decree attached as Exhibit A.




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     Respectfully submitted, this the 4th day of December, 2017.



/s/ Charles F. Marshall                          /s/ Allison J. Riggs, by permission
Charles F. Marshall                              Allison J. Riggs
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Counsel for Defendant




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2017, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system and have verified that such filing was sent

electronically using the CM/ECF system to the following:

             Allison J. Riggs
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                                           Respectfully Submitted,

                                           /s/ Charles F. Marshall
                                           Charles F. Marshall




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